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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

CRIMINAL NO.
19-10113-FDS
                                UNITED STATES OF AMERICA


                                                 v.

                                    LOUIS D. COLEMAN, III


                                  INITIAL STATUS REPORT

                                           June 12, 2019
KELLEY, M.J.

       Defendant had an initial status conference scheduled for June 14, 2019. The parties filed

a status report asking that the matter be continued for an interim status conference in

approximately sixty days (#25). The interim status conference is scheduled for August 12, 2019

at 2:15 p.m. This court enters the following report and order.


       A.      Discovery is voluminous and is being provided on a rolling basis. The
               government anticipates producing automatic discovery by July 15, 2019.

       B.      In this court's view, this is a case which warrants modification of the standard
               schedule.

       C.      In this court's view, this is not a case involving unusual or complex issues for
               which an early joint conference of the district judge and the magistrate judge with
               counsel of record would be useful.

       D.      It is too early to set a date for requests by defendant for additional discovery or for
               the filing of dispositive motions.

       E.      The timing of expert discovery will be set at the interim status conference if
               appropriate.
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        F.       With the agreement of the parties, this court finds and concludes, pursuant to the
                 provisions of 18 U.S.C. § 3161 (h)(7)(A) that the interests of justice, i.e., review
                 of the case, review of evidence, investigation, evaluation of discovery and
                 dispositive motions, and consideration of alternatives concerning how best to
                 proceed with this matter, outweighs the best interests of the public and the
                 defendant for a trial within seventy days of the return of an indictment.

                 Accordingly, it is hereby ordered that, pursuant to the provisions of 18 U.S.C.
                 § 3161 (h)(7)(A) the Clerk of this Court enter excludable time for the period of
                 June 14, 2019 through August 12, 2019 under the Speedy Trial Act.1

        H. An Interim Status Conference has been scheduled for August 12, 2019 at 2:15
           p.m.


                                                     / s / Page Kelley
                                                   PAGE KELLEY
                                                   UNITED STATES MAGISTRATE JUDGE




   1
      The parties are hereby advised that under the provisions of Rule 2(b) of the Rules for United States
Magistrates in the United States District Court for the District of Massachusetts, any party may move for
reconsideration by a district judge of the determination(s) and order(s) set forth herein within ten (10)
days after receipt of a copy of this order, unless a different time is prescribed by this court or the district
judge. The party seeking reconsideration shall file with the Clerk of this Court, and serve upon all parties,
a written notice of the motion which shall specifically designate the order or part thereof to be
reconsidered and the basis for the objection thereto. The district judge, upon timely motion, shall
reconsider the magistrate's order and set aside any portion thereof found to be clearly erroneous in fact or
contrary to law. The parties are further advised that the United States Court of Appeals for this Circuit
has indicated that failure to comply with this rule shall preclude further appellate review. See Keating v.
Secretary of Health and Human Services, 848 F.2d 271 (1st Cir. 1988); United States v. Emiliano
Valencia-Copete, 792 F.2d 4 (1st Cir. 1986); Park Motor Mart, Inc. v. Ford Motor Co., 616 F.2d 603 (1st
Cir. 1980); United States v. Vega, 678 F.2d 376, 378-379 (1st Cir. 1982); Scott v. Schweiker, 702 F.2d 13,
14 (1st Cir. 1983); see also Thomas v. Arn, 474 U.S. 140, 106 S. Ct. 466 (1985).
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